Case 1:05-cr-10015-.]DT Document 12 Filed 06/13/05 Page 1 of 6 PagelD 2.3

UN|TED STATES D|STR|CT COURT
WESTERN D|STR|CT OF TENNESSEE
EASTERN DlV|SlON

UN|TED STATES OF AMER|CA

-V-

i-ii_§a §iei;_\`_§;__i_._o.c.

osJuNis AH 3,,5

» sit fort
‘ifw“u§ DEYYP

05-10015-01-T W U Ol

KAHMEYA T. LEW|S
Stephen B. Shankman, FPD
Defense Attorney
200 Jefferson Avenue, Ste. 200
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count1 of the indictment on March 10, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & section MO_\‘LSQ concluded Numberjsj
18 u.s.c. § 641 Theft of social security Funds 03/31/2002 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
VictimS Restitution Act Of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. Nc. XXX-XX-XXXX
Defendant’s Date of Birth: 12/14/1964
Deft’s U.S. |V|arsha| No.: 19950-076

Defendant’s l\/lailing Address:
3A Washington Court
Paris, TN 38242

Th!s document entered on the docket sheet in compliance

with aule 55 and/or 32(1:») Fach on O Ui~ ilB “ (1_§

Date of imposition of Sentence:
June 10, 2005

   

5 igkw¢@£;s
JAMEs .Tooo

CHIEF |TED STATES D|STR|CT JUDGE

June Zd ,2005

 
 

Case 1:05-cr-10015-.]DT Document 12 Filed 06/13/05 Page 2 of 6 PagelD 24

Case No: 1:05cr10015-01-T Defendant Name: Kahmeya T. Lewis Page 2 of 5

PROBAT|ON

The defendant is hereby placed on probation for a term of 5 Years.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). |f this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, cr administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are iltegally sold, used,
distributed, or administered;

Case 1:05-cr-10015-.]DT Document 12 Filed 06/13/05 Page 3 of 6 PagelD 25

Case No: 1105cr10015-01-T Defendant Name: Kahmeya T. Lewis Page 3 of 5

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ocher;

11. The defendant shall not enter into any agreement to act as an informer or a special agent cf a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall be prohibited from incurring new credit charges, opening
additionai lines of credit, or making an obligation for any major purchases without
approval of the Probation Officer.

2. The defendant shall provide the Probation Ocher access to any requested financial
information
3. The defendant shalt assist the Probation Office in the collection of DNA, as directed

by the Probation Oche.

Case 1:05-cr-10015-.]DT Document 12 Filed 06/13/05 Page 4 of 6 PagelD 26

Case No: 1:050r10015-01-T Defendant Name: Kahmeya T. Lewis Page 4 of 5

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00 14,053.00

The Special Assessment shall be due immediately
FlNE
No fine imposed.
REST|TUT|ON

Restitution in the amount of $14,053.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Priority Order
Total Amount Amount of or Percentage
Name of payee of Loss Restitution Ordered of Payment

SOC|AL SECUR|TY $14,053.00
ADN||N|STRAT|ON,
Attn: Court Refund

Restitution shall be paid in monthly installments equal to ten percent (10%) of the
defendants’s total gross monthly household income from all sources The defendant shall be
required to regularly furnish proof of her gross monthly household income, upon which the amount
of monthly payments shall be based, to the United States Probation Office.

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

Case 1:05-cr-10015-.]DT Document 12 Filed 06/13/05 Page 5 of 6 PagelD 27

Case No: 1:050r10015-01-T Defendant Name: Kahmeya T. Lewis Page 5 of 5

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(l3), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

 

COURT - WESRNTE

0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CR-100] 5 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Stephen B. Shankman

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

